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                                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                          STATE OF LOUISIANA
            DOCKET                   NO.2019-3947               DMSION      (Dr                             SECTION: 12

                                                                 J.w' DOE

                                                                 VERSUS

                                         ARCHDIOCESE OF NE\ry ORLEANS INDEMNITY,INC.,
                     THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA,
              THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS
                             AND FATHER LAWRENCE A. HECKER

            FILED BY:
                                                                                  .                   DEPUTYCLERK

                                      THE ARCHDIOCESE'S MOTION FOR EXTENSION OF TIME,
                                         PROTECTTVE ORDER. AND STATUS CONFERENCE

                               Now INTO couRT, tkough          undersigned counsel, comes defendant, The Roman

           Catholic Church of the Archdiocese of New Orleans (the "Archdiocese"), who files this Motion

           for Extension ofTime, Protective Order, and Status Conference for the reasons set forth herein.

                                                                     1.


                           To date, including this case, there have been at least 14 cases which have been recently

           filed in Civil District Court against the Archdiocese involving alleged sexual abuse claims, which

           were alleged to have occurred decades ago, similar to those alleged in this case. In each ofthese

           14 cases, the lead counsel for the            plaintiff is the same, John H. Denenea, Jr. with Shearman-

           Denenea,                LLC and/or soren Gisleson with Herman &,Katz, LLC.I The claims in all 14          cases

          involve substantially similar claims and the discovery ofthe Archdiocese in each case significantly

          and substantially overlaps.

                                                                     2.

                       In thefirst .filed of the pending 14 cases, John Doe v. The Roman Catholic Church
                                                                                                         for the
          Archdiocese of New orleans, e/ a/, No. 2018-10864, Division                 A   (rhe   "First Filed Doe case',),
          Judge llazeur quickly determined that the case would involve significant discovery issues which

          would require extensive resources of the Cowt and, on August 19, 2019, ordered that Ju,Jge Gill-




                       I
                 The Archdiocese is aware of 5 additional cases which were recently frled, but the
         Archdiocese has not been served with these new suits.


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                                                                                                 EXHIBIT 9
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            Jefferson be appointed       as a   special master to handle discovery issues.    ,Se¿   attached to memorandum

            in support, Exhibit A, Order appointing Special Master.

                                                                         3.

                          In seven (7) ofthese cases, including the above-captioned matter, on or about October 3,

           2019, plaintiffs served on the Archdiocese their First Set oflnterrogatories and Requests for

           Production         of   Documents (the "Discovery Requests"), requesting an extensive amount                    of
           information and documenrs. Plaintifß agreed                       to one 30 day extension of time, and the
           Archdiocese's responses in each are currently due on Decemb er 2, 2019.

                                                                        4.

                      The Discovery Requests demand information and documents dating all the way back to the

           1960s and require a significant amount of time and resources in order to respond. Despite a diligent

           and good faith effort to obtain information and documents to respond to this discovery, the

          Archdiocese needs additional time to respond and requests an extension ofat 30 days to respond

          to plaintiffs' Discovery Requests.

                                                                        5.

                     Further, the Discovery Requests call for the production ofprivate, confidential information

          and communications that involve the Archdiocese and third parties which should be protected                  from
          public disclosure' In the First Filed Doe Case, Judge Hazeur has already entered a protective order

          that protects confidential information.2 However, as ofyet, no protective order has been entered in

          the other 13 cases. Accordingly, the same protective order that is in place in the First Filed Doe

          Case should be issued in the other          l3   cases so as to protect the disclosure     ofprivate, confidential

          information communications. At this time, the Archdiocese moves for entry of the protective order

          in this case and has moved for a protective order in the other cases in which plaintiffs' Discovery

          Requests are pending.




                    2.See
                     attached to memorandum in support, Exhibit B, Protective Order; Exhibit C, Special
         Master's 9/25/19 Report and Recommendations and 9127/lg supplemental Repor.t and
         Recommendations; Exhibit D, Special Master's l1/7/19 Report and Recommendations; Exhibit
         F, Judgment adopting Special Master's Report and Recommendations.


         [N3930222. I ]                                             2
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                                                                             6.

                       Finally, the Archdiocese requests that the Court order a status conference for purposes             of
            issuing an approved discovery order to manage the substantially identical discovery in the 14

            related cases currently pending against the Archdiocese. The Archdiocese further suggests that, to

            maintain consistency and uniformity, the court consider appointment of Judge Gill-Jefferson as

            Special Master for discovery issues,             as has   already been ordered by Judge Hazeur in the First Filed

           Doe Case.

                      WHEREFORE, for the foregoing reasons, the Archdiocese respectfully requests tlrat the

           Court g¡ant this motion and order the following:

                 1.   an order grant¡ng the Archd¡ocese an extension of time of at least 30 days, within which to

                      respond    to plaintiffs   F¡rst Set   of lnterrogâtories and Request for Production of Documents and

                      Things;

                 2.   aprotectiveorderintheformattachedtothememoranduminsupportasExhibitB,wh¡ch¡sthe

                      protective order entered in the F¡rst Filed Doe Case, to govern and protect confidential

                      information; and

                3.    an order   for a status conference for the purpose of issuing an appropriate discovery order to

                      manage the substantially identical discovery in the 14 related cases currently pending agâínst the

                      Archdiocese.

                                                                       Respectfully




                                                                                  G. ZERINGUE,             8516)
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                                                                       JEFFERSON R. TTLLERY (#17831)
                                                                       EDWARD D. WEGMANN (#13315)
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                                                                                        AND

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                                                               RICHARD A. BORDELON (#14091)
                                                               Denechaud and Denechaud, L.L.C.
                                                               201 St. Charles Avenue, Suite 3920
                                                               New Orleans,   LA   70170
                                                               Phone: 504-522-47 56 | Fax: 504-568-0783

                                                               Attorneysþr Defendant, The Roman Catholic
                                                               Church ofthe Archdiocese ofNew Orleans

                                                  CERTTFTCATE OFSERVTCE

                          I hereby certify that a copy ofthe above and foregoing pleading has been forwarded this

           day to all counsel ofrecord, E by e-mail, D by facsimile,       tr by hand, and/or tr by United   States

           mail, postage prepaid and properly addressed, this 3'd day of December, 20 I 9.




                                                                    ARD




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                                   CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                       STATE OF LOUISIANA
            DOCKET              NO.2019-3947                  DIVIS¡ON      rD"                            SECTION: t2

                                                               J.W. DOE

                                                               VERSUS

                       ARCHDIOCESE OF NEW ORLEANS INDEMNITY,INC.,
                     THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA,
              THE ROMAN CATHOLIC CHURCH OF THE ARC}IDIOCESE OF NEW ORLEANS
                             AND FATHER LAWRENCE A. HECKER

           FILED BY:
                                                                                    .               DEPUTYCLERK
                  THE ARCHDIOCESB'S MEMORANDUM IN SUPPORT OF MOTION FOR
                 EXTENSION OF TIME. PROTECTIVE ORDER. AND STATUS CONFERENCE

                          This memorandum is submitted on behalf of defendant, The Roman Catholic Church                of
           the Archdiocese of New Orleans (the "Archdiocese"), in support of its Motion for Extension
                                                                                                                        of
           Time, Protective Order, and Status Conference.

                          To date, inciuding this case, there are at least i4 cases which have been recently filed in

           Civil District Court against the A¡chdiocese involving alleged sexual abuse claims, which were

           alleged to have occur¡ed decades ago, similar to those alleged in this case.l In         all l4 ofthese cases,
          the lead counsel for the plaintiff is the same, John H. Denenea, Jr. with shearman-Denenea,
                                                                                                      LLC
          a¡rd/or Soren Gisleson with Herman Herman &. Katz. The claims                        in all 14   cases involve

          substantialiy similar claims, and the discovery of the Archdiocese that the plaintiff seeks in each

          case significantly and substantially overlaps.        In   the first   fited of the 14 cases, John Doe v.   The

          Roman catholic            churchfor   the Archdiocese of New orleans, et      al No. 201g-10g64,   Division A
          (the "First Filed Doe Case"), Judge Hazeur quickly determined that the case would
                                                                                            involve

          significant discovery issues which would require extensive resources ofthe Court and, on August

          19,2019, ordered that Judge Gill-Jefferson be appointed as a special master to handle discovery

          issues.     .S¿¿    Exhibit A, Order appointing Special Master.

                      In this motion, the Archdiocese requests the following:




                 I The
                       Archdiocese is aware of5 additional cases which were recently filed, but the
         Archdiocese has not been served with these new suits.


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                           First, in 7 of the 14 pending cases, including the above-captioned matter, on or about

            October 3, 2019, plaintiffs se¡ved on the Archdiocese their First Set oflntenogatories and Request

            for Production of Documents and rhings (the "Discovery Requests"), requesting an extensive

            amount             of information and     documents. Exhibit E, Plaintifls First Set of Interrogatories and

            Request for Production ofDocuments and Things. Plaintiffs agreed to one 30 day extension                        of
            time. Therefore, responses are currently due on Decembet 2, 2019. The Discovery Requests

            demand information and documents dating all the way back to the 1960s and require a significant

            amount oftime and resources in order to respond. Despite a diligent and good faith effort to obtain

            information and documents to respond to this discovery, the Archdiocese needs additional time to

           respond and requests at least an additional extension             of30   days to respond to   plaintiffs extensive

           Discovery Requests.

                           Second, the Discovery Requests call for the production      ofprivate, confidential information

           and communications that involve the Archdiocese and third parties which should be protected                  from

           public disclosure. In the First Filed Doe Case, Judge Hazeur has already entered a protective order

           that protects confidential information. However, as ofyet, no protective order has been entered in

           the other 14 cases. Accordingly, the same protective order that is in place in the First Filed Doe

           Case should be issued                in   each case so as to protect the disclosure    of private,   confidential

           information communications. At this time, the Archdiocese has moved for entry of the protective

           order in this cases and is moving for the same protective order in the other cases in which            plaintifß'

          Discovery Requests are pending.

                       Third, the Archdiocese requests that the Court order a status conference for the purpose of

          issuing      a       discovery order to manage the substantially identical discovery in this case and the related

          cases cunently pending against                  the Archdiocese. The Archdiocese further suggests that, to

          maintain consistency and uniformity, the Court consider appointing Judge Gill-Jefferson                          as

          Special Master for discovery issues, as has already been ordered by Judge Hazeur in the First Filed

          Doe Case.




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                                                                      FACTS

            I.                  The Lawsuits

                                Since October 29,2018, the¡e have been at least I 4 lawsuits filed against the A¡chdiocese

            and other defendant clergyman, alleging similar claims ofsexual abuse in the late 1970s and early

            I 980s.2            In each of these cases, the lead counsel for the plaintiff is the same, John H. Denenea, Jr.

           with Shearman-Denenea, LLC and/or Soren Gisleson with Herman Herman &Katz. To date, the

           following lawsuits have been filed and served on the Archdiocese:

                                 DATE                                           CASE

                                               John Doe v. The Roman Catholic Church forthe Archdiocese of New
                          r.0-29-18
               1
                                               Orleans, et al, No. 2018-10864, Division A (Judge Hazeur)


                                               John Roe I v. The Roman Catholic Church for the Archdiocese of New
                          1-1-13-18
               2                               Orleans, et al, No. 2018-11369, Division A (Judge Hazeur)



            3             12-12-18             C.J. Doe v. The Roman Catholic Church fo¡ the A¡chdiocese of New
                                               Orleans, et al, No. 2A18-12393, Division L (Judge Reese)


                      02-06-19               James Doe v. The Roman Catholic Church for the Archdiocese           of New
                                             Orleans, et al, No. 2019-1371, Division C (Judge Cates IV)


            5         04-1        l-19      J.Vy'.   Doe v. The Roman Catholic Church for the Archdiocese of New
                                            Orleans, et al, No. 2019-3947, Division D (Judge Ervin-Knott)


           6          06-12-19              A.A. Doe v. The Roman Catholic Church for the Archdiocese of New
                                            Orleans, et al, No. 2019-06200, Division D (Judge Ervin-Kaott)


           7          08-15-19
                                            Linda Lee Stonebreaker v. The Roman Catholic Church for the
                                            Archdiocese of New Orleans, et al, No. 2019-8551, Division I (Judge
                                            Griffin)

           8       08-15-I9                 Tom Doe v. The Roman Catholic Church for the Archdiocese of New
                                            Orleans, et al, No. 2019-8552, Division B (Judge Johnson)


           9       09-26-19                 B.B. Doe v. The Roman Catholic Church for the A¡chdiocese of New
                                            Orleans, et al, No. 2019-10149. Division A (Judge Hazeur)


           10      t0-23-19                 Joh¡ Roe iI v. The Roman Catholic Chu¡ch for the Archdiocese of New
                                            Orleans, et al, No. 2019-ll 169, Division M (Judge lrons)




                      2
                           See     supranote    1




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              1l       10-23-19     John Roe IlI v. The Roman Catholic Church for the Archdiocese of New
                                    Orleans, et al, No. 2019-1117l, Division N (Judge Julien)


              12      10-23-19      John Roe IV v. The Roman Catholic Church for the Archdiocese of New
                                    Orleans, et al, No. 2019-1 I 173, Division J (Judge Sheppard)


                      l1-04-r9      F.F. Doe v. The Roman Catholic Church for the A¡chdiocese of New
                                    Orleans, et al, No. 2019-11587, Division I (Judge Griffin)


              I4      11-04-19      Lon Doe v. The Roman Catholic Church for the Archdiocese of New
                                    Orleans, et al, No. 2019-11575, Division I (Judge Griffin)


            II.       The John Doe Case

                      The plaintiff in the First Filed Doe Case, which is pending before Judge Hazeur, was rhe

           first to issue discovery to the Archdiocese. On March 23, 2019, plaintiff John Doe sent the

           Archdiocese 2 Notices ofRecords Depositions and Subpoenas Duces Tecum (the "Archdiocese

           Subpoenas"). The Archdiocese's counsel attempted to work with plaintiff s counsel to confect a

           protective order because certain responsive documents would contain confidential and private

           information about defendant Brignac and third panies who are not part of the First Filed Doe Case.

           Howeve¡ plaintiffs counsel refused. Consequently, on June 20,2019, the Archdiocese filed a

           Motion for Entry of Protective Order and Motion to Stay the Return Date on plaintiffs

          Notices/Subpoenas Duces Tecum, which was referred by Judge Hazeur to Special Master Judge

           Gill-Jefferson.

          m,         The John Doe Protective Order

                     After a hearing on the matter, on September 2 5,2019, Special Master Judge Gill-Jefferson

          found that there was good cause to protect confidential information and recommended to Judge

          Hazeur that      a plotective order be   issued   to protect the    disclosure   of private,   confidential

          information and communications. Exhibit                c,   special Master's 9/z5ll9 Report            and

          Recommendations and 9/27119 Supplemental Report and Recommendations. And, on October 28,

          2019, Judge Hazeur,       in   accordance with the Special Master's recommendation, entered a

          protective order which includes protection of conldential information. Exhibit B, Protective

          order. Further, on November 14,2019, Judge Hazeur ente¡ed a Judgment adopting the special



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            Master's Report and Recommendations and Supplemental Special Master's Report                                 and

            Recommendations. Exhibit F, Judgment.

                        On November     7   , 2019, after another hearing on a discovery motion involving a subpoena

           requesting documents which plaintiff had issued to a third party, the Special Master reiterated the

           importance ofa protective order to protect confidential information and denied, in part, plaintifPs

           motion to compel and ruled that the documents be produced subject to a protective order in

           accordance with her previous ruling. The Special Master explained, "[g]iven the nature ofthese

           proceedings and the confidentiality ofcertain documents,              it is imperative that   a Protective Order

           issue." Exhibit D, Special Master's I 1/7/19 Report and Recommendations, p. 2.

           IV.          Additional Discovery in the Lawsuits

                        In the J.W. Doe Case,3 on October l,2Ol9,plaintiff issued a La. C.C.P. art. l44j. request

           for documents to the Archdiocese requesting many of the same documents requested in the

           pending Discovery Requests issued by plaintiffs in 7 of the cases. on November 8,2019, the

           Archdiocese served its response to plaintiffJ.V/. Doe's           l44l   request and produced 806 pages        of
           documents.        In addition, plaintiff J.W. Doe      issued   a notice for the     1442 deposition     of   the

          Archdiocese regarding 20 topics. This deposition took place on November 21,2A19. Counsel fo¡

          plaintiff in the J.w. Doe case has also requested the deposition of Archbishop Gregory M.

          Aymond.

                     Accordingly, there is significant overlap between the discovery in all the pending cases. It

          would be unduly burdensome, inefficient, and improper, for example, if the Archdiocese would be

          required to give      i4   separate corporate depositions or   ifthe Archbishop would      be required to give

          14 separate depositions on the same or         similar topics. As a result, in addition to a protective order,

          the Archdiocese requests that the Court issue an order for a status conference for the purpose                 of
          issuing an appropriate discovery orde¡ to manage and coordinate discovery in each ofthe pending

          cases, and that the Court consider appointing Judge Giil-Jefferson as special master for discovery

          issues, as has already been ordered by Judge Hazeur in the First Filed Doe Case.




                    3
                        J.\tr. Doe v. The Roman Catholic Churchfor the Archdiocese of New Orleans, et             al,No.
          2019-3947 , Division        D (Judge Ervin-Knott)

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                                                       LAW AND ARGUMENT

            I.             The Archdiocese has good cause for an extension of time to respond to plaintif?s
                           extensive discovery requests, which request information and documents dating all the
                           way back to the l9ó0s.

                           In 7 of the 1 4 cases pending against the Archdiocese, plaintiffs have issued their Discovery

            Requests to the Archdiocese.         A side by side comparison reveals that these    7 sets   ofdiscovery are

            vinually identical, except fo¡ the name of the particular defendant clergyman in the                case. ,See

            Exhibit E, PlaintifPs First Set of Interrogatories and Request for Production of Documents and

            Things. Searching for reco¡ds and information responsive to the requests regarding each particular

           clergyman requires a significant expenditure oftime and resources to locate, review, and identify

           the responsive documents. Indeed, most of the discovery requests demand information                        and

           documents dating all the way back to the 1960s, and most of the information and documenls must

           be located by hand because it is not stored or maintained in an electronic database. Therefore,

           while the Director ofArchives and Records and other personnel at the Archdiocese are diligently

           searching electronically stored information and hard copy files to respond to the Discovery

           Requests in the 7 separate cases, the Archdiocese needs additional time to respond, and               if is not
           possible to respond to the Discovery Requests at this time. See Nolan ,'. Exxon Mobit              Corp.,No.
           l3-439-JJB-8WD,2016 u.s. Disr. LEXIS 80409, ar *5-6 (M.D. La. June zt,2ot6) (granting

           motion for extension finding that 45 day extension to respond to party's discovery requests was

           reasonable considering number of parties' involved and amount of time it would take to properly

           respond).

                       Further, whiie plaintiffs in the 7 cases granted the Archdiocese one extension, the extended

           deadline to respond to plaintiffs' Discovery Requests falls on the Monday after Thanksgiving

           (December 2, 2019), and,            in light of the   upcoming religious and New years' holidays, an

          additional 30 days is reasonable. 1d (finding 45 day extension reasonable to respond to discovery

          requests).

                       Finally, piaintiff will not be prejudiced by this brief extension of time. The Court has not

          issued any scheduling order, and thus an extension             will not interfere with   any court-imposed

          deadlines.




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                           Accordingly, in light ofthe numbe¡ ofcases pending against the Archdiocese, the scope        of
            the Discovery Requests, and intervening holidays, there is good cause for an extension to respond

            to   plaintifls Discovery Requests, and an extension of        at least 30 days is reasonable. At that time,

            the Archdiocese anticipates that       it will be in a position to submit written responses and objections

            to   plaintiff s Discovery    Requests and start a   rolling production of documents.

            II.            The Archdiocese has good cause to move for a protective order to protect private,
                           conlidential information and communicâtions.

                           LouisianaCodeofCivilProcedure articlel426providesthatuponmotion,thecourt"for

           good cause" may make any order which justice requires to protect a party or person, such as to

           protect a party's confidential commwrications or information. La.          c.c.p. art. 1426(A). ,,Good

           cause," the Louisiana Supreme court has observed, is a "relatively low standard." copeland             v.

           copeland,2007-0177 (La. 10116/07):966 so.2d 1040, 1045. under Louisiana law, the public

           generally has no right to access materials exchanged during discovery that have not yet become

           couf records. Indeed, "there is       no presumptive right to public access to discovery materials, as

           discovery rules allow for broad and searching review ofa party's files and review ofthese

           materials traditionally takes place in private a¡d the documents may never be presented to, or

           introduced in, a court." 1d The Louisiana Supreme Cou¡t has iong recognized that individuals

           have a right to privacy in their private communications. State v. Reeves,427 5o.2d4A3,405 (La.

           1982). A constitutional right to privacy in information exists where rhe party (1) has "an actual

           or subjective expectation ofprivacy," and (2) "that expectation is of a type which society at large

           is prepared to recognize as being reasonable." Copeland,966 So,2d            at 1047, n. 7 (intemal

           citations omitted).

                       Here,   plaintiffs Discovery Requests call for the production ofprivate, confidential

           information and communications that involve the Archdiocese and third parties and therefo¡e

          should be protected from public disclosure. Indeed, the Special Master in the First Filed Doe

          Case has already ruled that similar information requested by the         plaintiff is confidential and that

          there is good cause to enter a p¡otective order to maintain the confidentiality ofsuch information.

          See    Exhibit C Special Master's 9125/19 Report and Recommendations, p. 3 ("the public does not

          have the right to private confidential information,"); Exhibit D Special Master's I 1/7/19 Report



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            and Recommendations, p. 2 ("Given the nature ofthese proceedings and the confidentiality             of
            certain documents, it is imperatíve that a Protective Order issue.") (emphasis added); Exhibit B,

            Protective Orde¡.

                         Accordingly, the Archdiocese objects to producing any documents in response to the

            Discovery Requests unless such documents and information are protected by a protective order

            which protects the confidentiality of such documents. The Coun should enter the same protective

           order that was agreed upon by the same counsel for plaintiff in this case and entered by Judge

           Hazeur in the First Filed Doe Case. Exhibit B, Protective Order.

           nI.         The Archdiocese has good cause to request that the Court issue an order for a status
                       conference for the purpose of issuing a discovery order to manage and coordinate
                       discovery in each of the pending cases.

                       Pursuant to La. C.C.P. art. 1426, this Court may make any order which justice requires to

           protect a party from oppression or undue burden, including that discovery be had on specified

           terms and conditions, that the discovery be limited, or that it only be had by a particular method.

           Given the fact that there a¡e at least 14 separate actions against the Archdiocese, the Archdiocese

           will   be required to participate ín discovery in the 14 separate actions. W'hile there aÍe certain

           factual distinctions among the pending cases against the Archdiocese and certain clergymen,

           there is significant overlap related to discovery. In the 7 cases in which discovery has been

           issued, discovery has been propounded that is in Iarge measure duplicative. ,see Exhibit E,

           Plaintiff     s   First Set of Interrogatories and Request for Production of Documents and Things. In

           all 7 cases, the¡e are 25 interrogatories and 3 7 requests for production of documents. All of the

           interrogatories and requests for production ofdocuments in each case are identical except for the

           name(s) of the clergyman who allegedly committed the abuse. It is anticipated that identical or

           similar requests wiil be propounded in the other cases. The Archdiocese is seeking this Court's

          assistance to coordinate and consolidate discovery in the 14 cases to eliminate duplicative

          requests from plaintiffls counsel in this proceeding and the similar proceedings in other divisions

          of this Court.

                    The Archdiocese is also concemed about successive depositions being taken ofthe

          Archbishop or other personnel of the Archdiocese. For example, the deposition of Emilie

          Leumas, the Director of Archives and Records for the Archdiocese, was recently taken in the

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             J'W. Doe Case and lasted approximately 7 hours. Ms. Leumas should not have to go through l3

             more depositions on the same topic just because of the number of suits. Obviously, the disruptive

             potential of successive depositions of the same witness is magnified when there are 14 separate

             suits on the same subject.

                             The Archdiocese believes plaintiffs' counsel, to the extent possible, should be required to

            coordinate and consolidate their discovery requests to eliminate duplicative requests, such that

            the Archdiocese is not required to respond to the same interrogatory or document request on

            multiple occasions and that depositions ofwitnesses can be coordinated and taken once to be

            used in all cases. This couid be accomplished by allowing discovery responses to be shared
                                                                                                       and,

            to the extent relevant and admissible, used in all of the cases. To the extent, Ms. Leumas or any

            witness ofthe Archdiocese needs to be deposed a second time, the scope              ofthe deposition should
            be limited to aÍeas of inquiry which were not covered in the first deposition so that tlle witness
                                                                                                               is

            not re-asked questions previously answe¡ed. see Meredith v. Asbesros corp.,2000-0137               (La.
            03/ t7 /00),       7   55 So.2d 892.

                         This Court enjoys a broad measure ofdisc¡etion in managing pre-trial affairs, including

           the conduct of discovery. La.           c.c.p.   art, 1426. Decisions regarding the scope of discovery and

           the protections to be afforded parties in the discovery process, Ír¡e ordinarily left to the hial court,

           who is in a unique position to gauge and balance the potential conflicting interests ofall. The

           A¡chdiocese respectfully requests that this Court enter an order for a status conference          for
           purposes ofissuing a discovery order to manage the nearly identical discovery in the
                                                                                                14 related

          cases cunently pending against the Archdiocese.

                     Finally, once again, the Archdiocese suggests that the Court consider appointing Judge

          Gill-Jefferson as special master regarding discovery issues in order to maintain consistency and

          uniformity as to discovery in these proceedings.

                                                              CONCLUSION

                    For the foregoing reasons, the Archdiocese respectfully requests that the Court grant this

          motion and issue the following:




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                  1   .       an order granting the Archdiocese an extension of time of at least         3   0 days,   within which to

                              respond to   plaintifls First Set oflnterrogatories    and Request for Production ofDocuments

                              and Things:

                 2.           a   protective order in the form attached as Exhibit B, which is the protective order entered

                              in the First Filed Doe case, to govem and protect confidential information; and

                 3.           an order   for a status conference for the purpose of issuing a discovery order to manage the

                              nearly identical discovery in the 14 related cases pending against the Archdiocese.

                                                                       Respectfu    lly submitted,



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                                                                      Atlorneys for Defendant, The Roman Catholíc
                                                                      Church of the Archdiocese of New Orleans

                                                         CERTIFICATE OF SERVICE
                       I hereby certify that a copy ofthe above and foregoing pleading has been forwarded this

          day to all counsel ofrecord,              I   by e-mail, D by facsimile,   tr by hand, and/or n by United          States

          mail, postage prepaid and properly addressed, this 3d day                                   ,20    9




                                                                                    D. WEGMAN.\


          (N3930222.      I   )                                         10
